
Thursday, 2nd July.-^-By the Court, consisting of Judges Lyons, Fleming, and Tucker, (Judge Roane being absent, from indisposition,) the judgment of the District Court was unanimously reversed; because, “the plain- “ tiffs in errour having pleaded ‘ payment,’ and the jury, *385having found, that the debt was not paid to the defen- “ dant in errour, should have assessed damages for the “ breaches, assigned in the declaration, of the agreement “ in the condition of the obligation mentioned, and judg- “ ment should have been entered for the penally of the “ bond, which, being in the time of depreciated paper mo- “ ney, should have been reduced to specie, according to 44 the scale, as settled by law, at the date of the said bond; “ and, when so reduced, to be discharged by the payment “ of the damages assessed by the jurr, and the costs, and “ not by the payment of the tobacco, which the State of 11 Virginia was to pay in discharge of the said bond, ac- “ cording to the condition thereoi.”
